     LOCAL FORM FOR A CHAPTER 13 PLAN UNDER FEDERAL RULE OF BANKRUPTCY PROCEDURE 3015.1 AND
                                  ADMINISTRATIVE ORDER NO. 17-04

                                                         UNITED STATES BANKRUPTCY COURT
                                                       FOR THE EASTERN DISTRICT OF MICHIGAN

IN RE:

            Gabrielle Allise Jackson                                               CASE NO.
                                                                                   CHAPTER 13
S.S.#      xxx-xx-4489                                                             JUDGE
        Debtor

and                                                                                                  PLAN SUMMARY
                                                                                               For informational purposes only.
                                                                                    ACP: 36 Months
                                                                                    Minimum Plan Length: 36 Months
S.S.#
                                                                                    Plan payment: $ 180.00 per Month
     Joint-Debtor
                                                                                    Minimum dividend to Class 9 Creditors $ 82.50
             Debtor(s)
                                                                                    Percentage of Tax Refunds committed 100% in excess
__________________________________/                                                 of 12 times pro-ration on Schedule I


                                                                      CHAPTER 13 PLAN
                                         [ X ] Original              OR [ ]Pre-Confirmation Modification #

I.    NOTICES
TO CREDITORS: YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. THIS PLAN MAY BE CONFIRMED AND
BECOME BINDING WITHOUT FURTHER NOTICE OR HEARING UNLESS A TIMELY WRITTEN OBJECTION IS
FILED. READ THIS DOCUMENT CAREFULLY AND CONSIDER SEEKING THE ADVICE OF AN ATTORNEY.
   Debtors must check one box on each line to state whether or not the Plan includes each of the following items:
 A. Nonstandard Provisions set out in Section IV. Under Federal Rule        Included                  Not included
     of Bankruptcy Procedure 3015(c), a “nonstandard provision”
     means a provision that is not otherwise included in the approved
     form for a Chapter 13 Plan in the Eastern District of Michigan.

 B.     A limit on the amount of a secured claim based on a valuation of Included Not included
        the collateral for the claim.
 C.     Avoidance of a security interest or lien.                        Included Not included
         IF AN ITEM IS CHECKED AS “NOT INCLUDED” OR IF BOTH BOXES ARE CHECKED, THE PROVISION IS
         VOID EVEN IF OTHERWISE INCLUDED IN THE PLAN.
         ANY “NONSTANDARD PROVISION” THAT IS NOT SPECIFICALLY IDENTIFIED IN SECTION IV IS VOID.
         IF THIS SECTION I INDICATES THAT THIS PLAN DOES NOT INCLUDE ANY “NONSTANDARD
         PROVISIONS”, ANY “NONSTANDARD PROVISIONS” IN THIS PLAN (INCLUDING ANY OTHERWISE
         SPECIFICALLY LISTED IN SECTION IV) ARE VOID.
THIS PLAN IS SUBJECT TO AND INCORPORATES BY REFERENCE THE ADDITIONAL STANDARD PROVISIONS
WHICH MAY BE FOUND AT WWW.13EDM.COM or WWW.MIEB.USCOURTS.GOV OR FROM DEBTOR'S COUNSEL
UPON WRITTEN REQUEST.

II. APPLICABLE COMMITMENT PERIOD; PLAN PAYMENTS; PLAN LENGTH; EFFECTIVE DATE AND
    ELIGIBILITY FOR DISCHARGE:
      A.       Debtor’s Current Monthly Income exceeds the applicable State median income. Debtor’s Applicable Commitment Period
            is 60 months. Debtor’s Plan Length shall be 60 months from the date of entry of the Order Confirming Plan.


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               Debtor’s Current Monthly Income is less than or equal to the applicable State median income. Debtor’s Applicable
            Commitment Period is 36 months. Debtor’s Plan Length shall be 36 months from the date of entry of the Order Confirming
            Plan. This is a minimum Plan length. If the Plan has not been completed in the minimum Plan length, the Plan length shall
            be extended as necessary for completion of the requirements of the Plan; provided that in no event will the Plan term
            continue beyond 60 months from the date of entry of the Order Confirming Plan. See Paragraph J of the Additional Terms,
            Conditions and Provisions for additional information regarding Completion of Plan.
            If neither or both of the above boxes is checked, then the Applicable Commitment Period and the Plan Length shall be 60
            months from the date of entry of the Order Confirming Plan.
      B. Debtor’s plan payment amount is $180.00 per month.
      C. Future Tax Refunds. See Paragraph A of the Additional Terms, Conditions and Provisions for additional information
         regarding Tax Refunds and Tax Returns.
 FOR CASES ASSIGNED TO BAY CITY DIVISION: Check only one box. If none are checked or more than one box is
 checked, paragraph 2 shall apply:
 1.    Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future Tax
     Refunds

 2.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a
       pro-ration for anticipated Tax Refunds. Debtor will remit 50% of all Federal and State Tax Refunds that debtor receives or is
       entitled to receive after commencement of the case.

 3.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
       anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal and State Tax Refunds that debtor receives or is entitled
       to receive after commencement of the case to the extent the Refund exceeds the sum of twelve times the amount of the Federal
       and State Tax Refund pro-ration shown in Schedule I.

 FOR CASES ASSIGNED TO DETROIT DIVISION: Check only one box. If none are checked or more than one box is
 checked, paragraph 2 shall apply:
 1.    Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future Tax
     Refunds.

 2.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a
       pro-ration for anticipated Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor receives or is entitled to
       receive after commencement of the case.

 3.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
       anticipated Federal Tax Refunds. Debtor will remit 100% of all Federal Tax Refunds that debtor receives or is entitled to receive
       after commencement of the case to the extent the Refund exceeds the sum of twelve times the amount of the Federal Tax Refund
       pro-ration shown in Schedule I.

 FOR CASES ASSIGNED TO FLINT DIVISION: Check only one box. If none are checked or more than one box is checked,
 paragraph 2 shall apply:
 1.     Debtor’s Plan proposes a 100% dividend to unsecured creditors. Therefore, debtor is not required to remit any future tax
     refunds.

 2.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I does not include a
       pro-ration for anticipated tax refunds. Debtor will remit 100% of all Federal Tax Refunds that Debtor receives or is entitled to
       receive after commencement of the case.

 3.       Debtor’s Plan proposes less than a 100% dividend to unsecured creditors and debtor’s Schedule I includes a proration for
       anticipated Federal Tax Refunds. Debtor is not required to remit Federal Tax Refunds in excess of the amount of the proration
       shown on Schedule I.
      D.       If the box to the immediate left is "checked", the debtor acknowledges that debtor is not eligible for a discharge pursuant
            to 11 USC §1328.
              If the box to the immediate left is "checked", the joint debtor acknowledges that joint debtor is not eligible for a discharge
            pursuant to 11 USC §1328.
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      E.       If the box to the immediate left is "checked", the debtor or joint debtor is self-employed AND incurs trade credit in the
            production of income from such employment. Debtor shall comply with the requirements of Title 11, United States Code,
            and all applicable Local Bankruptcy Rules regarding operation of the business and duties imposed upon the debtor.
III. DESIGNATION AND TREATMENT OF CLASSES OF CLAIMS: See Paragraph F of the Additional Terms, Conditions
     and Provisions for additional information regarding the order in which claims are to be paid.
      A. Class One – TRUSTEE FEES as determined by statute.
      B. Class Two – ADMINISTRATIVE CLAIMS, INCLUDING ATTORNEYS FEES AND COSTS:
            1. PRE-CONFIRMATION ATTORNEY FEES: At confirmation of the Plan, Counsel shall elect to either:
                 a.     In lieu of filing a separate fee application pursuant to 11 USC §327 and §330, accept the sum of $ 3,500.00 for
                        services rendered plus $ 0.00 for costs advanced by Counsel, for total Attorney Fees and Costs of
                        $ 3,500.00 through the Effective Date of the Plan. The total Attorney Fees and Costs less the sum paid to Counsel
                        prior to the commencement of this case as reflected in the Rule 2016(b) Statement leaving a net balance due of
                        $ 3,420.00 , will be paid as an Administrative Expense Claim; or

                 b.     Request an award of compensation for services rendered and recovery of costs advanced by filing a separate
                        Application for Compensation for services rendered up through the date of entry of the Order Confirming Plan
                        pursuant to 11 USC §327 and §330. If Counsel elects to file a fee application pursuant to this sub-paragraph, the
                        Trustee shall escrow $0.00 for this purpose. See Paragraph B of the Additional Terms, Conditions and Provisions
                        for additional information.

            2. POST-CONFIRMATION ATTORNEY FEES: See Paragraph D of the Additional Terms, Conditions and Provisions
               for additional information.
            3. RETENTION OF OTHER PROFESSIONALS FOR POST-PETITION SERVICES: Debtor                                    has retained or
               intends to retain the services of (name of person to be retained) as (capacity or purpose for retention) to perform
               professional services post-petition with fees and expenses of the professional to be paid as an Administrative Expense.
               See Paragraph C of the Additional Terms, Conditions and Provisions for additional information.
            4. OTHER ADMINISTRATIVE EXPENSE CLAIMS: Any administrative expense claims approved by Order of Court
               pursuant to 11 USC §503 shall be paid as a Class Two administrative claim. See Paragraph E of the Additional Terms,
               Conditions and Provisions for additional information.
      C. CLASS THREE – SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND
         TREATED AS UNSECURED CLAIMS TO BE PAID BY TRUSTEE. See Paragraph G and Paragraph N of the
         Additional Terms, Conditions and Provisions for additional information.
            Class 3.1 Liens to be Stripped. 11 USC §506(a).
                                         Creditor                                                    Collateral

 None

            Class 3.2 Judicial Liens and Non-Possessory, Non-Purchase Money Liens to be Avoided. 11 USC §522(f).
                                         Creditor                                                    Collateral
 -NONE-

      D. CLASS FOUR - SECURED CLAIMS ON WHICH THE LAST CONTRACTUAL PAYMENT IS DUE BEYOND
         THE LENGTH OF THE PLAN. 11 USC §1322(b)(5).
            Class 4.1     Continuing Payments on a claim secured by the debtor's principal residence that come due on and after
                          the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the Additional Terms,
                          Conditions and Provisions for additional information).
                 Creditor                           Collateral                   Monthly Payment         Direct or Via Trustee
 First Independence Bank                       20 MIdland St. Highland Park, MI                    400.00               Direct
                                               48203 Wayne County
            Class 4.2          Pre-Petition Arrearages on a claim secured by the debtor's principal residence to be paid by Trustee:
                               Those amounts which were due as of the filing of the Order for Relief:


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                                                                                                                  Estimated Average    Months to Cure From
                 Creditor                                       Collateral                   Arrears Amount       Monthly Payment       Confirmation Date
 -NONE-

            Class 4.3     Continuing Payments other than on a claim secured by the debtor's principal residence that come due on
                          and after the date of the Order for Relief. (See Paragraph P, Paragraph L and Paragraph EE of the
                          Additional Terms, Conditions and Provisions for additional information).
                 Creditor                           Collateral                   Monthly Payment          Direct or Via Trustee
 -NONE-

            Class 4.4          Pre-Petition Arrearages other than on a claim secured by the debtor's principal residence to be paid by
                               Trustee: Those amounts which were due as of the filing of the Order for Relief:
                                                                                                                  Estimated Average    Months to Cure From
                 Creditor                                       Collateral                   Arrears Amount       Monthly Payment       Confirmation Date
 -NONE-


      E. CLASS FIVE - SECURED CLAIMS ON WHICH THE LAST PAYMENT WILL BECOME DUE WITHIN THE
         PLAN DURATION. (See Paragraph H, Paragraph L, Paragraph O, and Paragraph S of the Additional Terms, Conditions
         and Provisions for additional information).
           Class 5.1. Secured Claims not excluded from 11 USC §506 to be paid Equal Monthly Payments. 11 USC
                      §1325(a)(5)(B):
                                       Indicate if
                                   "crammed" *** or Interest rate Total to be paid
                                        modified         (Present      Including       Monthly
          Creditor/Collateral                          Value Rate)      Interest       Payment       Direct or Via Trustee
 Capital One Auto Finan/2018                                                        0.00%                 0.00            529.00 Direct
 Ford Eco Sport 2000 miles

*** See debtor's Schedule A/B for more information about values.
            Class 5.2. Secured Claims not excluded from 11 USC §506 not to be paid Equal Monthly Payments. 11 USC
                      §1325(a)(5)(B):
                                                    Indicate if                                                      Estimated
                                                 "crammed"***or              Interest rate                           Average
                                                     modified                  (Present       Total to be paid       Monthly
          Creditor/Collateral                                                Value Rate)     including interest      Payment          Direct or Via Trustee
 -NONE-/


*** See debtor's Schedule A/B for more information about values.
            Class 5.3. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                      to be paid “Equal Monthly Payments”. 11 USC §1325(a)(5)(B).
                                                                             Interest rate
                                                      Indicate if              (Present       Total to be paid       Monthly
          Creditor/Collateral                         "modified              Value Rate)     Including interest      Payment          Direct or Via Trustee
 -NONE-/


            Class 5.4. Secured claims excluded from 11 USC §506 by the “hanging paragraph” at the end of 11 USC §1325(a)(9)
                      not to be paid Equal Monthly Payments. 11 USC §1325(a)(5)(B).
                                                                                                                     Estimated
                                                      Indicate if            Interest rate                           Average
                                                      "modified                (Present       Total to be paid       Monthly
          Creditor/Collateral                                                Value Rate)     Including interest      Payment          Direct or Via Trustee
 -NONE-/


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            Class 5.5. Surrender of collateral. (See Paragraph P of the Additional Terms, Conditions and Provisions for additional
                      information).
The debtor(s) surrenders debtor’s interest in the following collateral. Any allowed unsecured claim remaining after disposition of the
collateral will be treated as a Class 9 General Unsecured Creditor.
                        Creditor Name                                                             Description of Collateral
 -NONE-

      F. CLASS SIX – EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES. 11 USC §§365, 1322(b)(7): Debtor
         assumes the executory contracts and unexpired leases listed in subparagraph 1. (See Paragraph K of the Additional
         Terms, Conditions and Provisions for additional information).
            Class 6.1. Continuing Lease/Contract Payments:
                                                                                                   Monthly         Lease/Contract        Direct or Via
                 Creditor                                            Property                      Payment         expiration date         Trustee
 -NONE-

            Class 6.2. Pre-petition Arrearages on Assumed Executory Contracts and Leases (to be paid by Trustee):
                                                                                                             Estimated Average    Months to Cure From
                 Creditor                                        Property                Arrears Amount      Monthly Payment       Confirmation Date
 -NONE-

            Class 6.3. Debtor rejects the executory contracts and unexpired leases listed in this subparagraph 3. Any unexpired
                       lease or executory contract that is neither expressly assumed in Class 6.1 above or expressly rejected below
                       shall be deemed rejected as of the date of confirmation of debtor’s chapter 13 plan to the same extent as if
                       that unexpired lease or executory contract was listed below. (See Paragraph K of the Additional Terms,
                       Conditions and Provisions for additional information):
                                         Creditor                                                                 Property
 -NONE-

      G. CLASS SEVEN – PRIORITY UNSECURED CLAIMS. 11 USC §§507, 1322(a)(2).
            Class 7.1. Domestic Support Obligations: Continuing Payments that come due on and after the date of the Order for
                       Relief:
                               Creditor                                         Monthly Payment                       Direct or Via Trustee
 -NONE-

            Class 7.2. Domestic Support Obligations: Pre-Petition Arrearages due as of the filing of the Order for Relief:
                                                                                                  Estimated Average
                            Creditor                                    Arrears Amount            Monthly Payment              Direct or Via Trustee
 -NONE-

            Class 7.3. All Other Priority Unsecured Claims [11 U.S.C. §1322(a)(2)]
                               Creditor                                             Amount                            Direct or Via Trustee
 -NONE-

      H. CLASS EIGHT – SEPARATELY CLASSIFIED UNSECURED CLAIMS. 11 USC §1322(b)(1): (To be paid by Trustee):
         (See Paragraph M of the Additional Terms, Conditions and Provisions for additional information):
               Creditor                                        Amount                    Interest Rate           Reason for Special Treatment
 -NONE-

      I.    CLASS NINE - GENERAL UNSECURED CLAIMS (to be paid by Trustee): – See Paragraph N of the Additional Terms,
            Conditions and Provisions for additional information.




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                   This Plan shall provide a total sum for distribution to creditors holding Class 9 General Unsecured claims in an amount
                   that is not less than the Amount Available in Chapter 7 shown on Attachment 1, Liquidation Analysis and Statement of
                   Value of Encumbered Property (the “Unsecured Base Amount”). This Plan shall provide either (i) the Unsecured Base
                   Amount; or (ii) will continue for the full Plan Length as indicated in Paragraph II.A of this Plan, whichever yields the
                   greater payment to Class 9 Unsecured Creditors. See Attachment 2, Chapter 13 Model Worksheet, Line 8, for
                   additional information concerning funds estimated to be available for payment to Class 9 Unsecured Creditors.

                   This Plan shall provide a dividend to holders of Class 9 General Unsecured Claims equal to 100% of allowed claims.
      If neither box is checked or if both boxes are checked, then the plan shall pay the Unsecured Base Amount.
                   If the box to the immediate left is "checked", creditors holding claims in Class Seven, Eight and Nine shall receive
                   interest on their allowed claims at the rate of 0.00% per annum as required by 11 USC §1325(a)(4).
IV. Nonstandard Plan Provisions:
               ANY "NONSTANDARD PROVISION" THAT IS NOT BOTH INCLUDED IN SECTION 1.A AND
               SPECIFICALLY STATED IN THIS SECTION IS VOID.

               V. D is amended to read "POST-CONFIRMATION ATTORNEY FEES & COSTS BY SEPARATE APPLICATION:
               Counsel reserves the right to file Application for compensation for services rendered subsequent to the
               Confirmation of this Plan."

I, John A. Steinberger P30812, Attorney for Debtor (or Debtor if not represented by an attorney), certify that this Plan
contains no "Nonstandard Provisions" other than those set out in Section IV above.

 /s/ John A. Steinberger                                                           /s/ Gabrielle Allise Jackson
 John A. Steinberger P30812                                                        Gabrielle Allise Jackson
 Attorney for Debtor                                                               Debtor
 17515 West Nine Mile Rd.
 Suite 420
 Southfield, MI 48075
 Street Address
 Southfield, MI 48075-0000                                                         Joint Debtor
 City, State and Zip Code
 john@steinbergerlaw.com
 E-Mail Address                                                                    April 17, 2019
 248-559-4055                                                                      Date
 Phone Number




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                                                                           ATTACHMENT 1
                     LIQUIDATION ANALYSIS AND STATEMENT OF VALUE OF ENCUMBERED PROPERTY:

                                                                                               DEBTOR'S
                                                     FAIR MARKET                               SHARE OF       EXEMPT        NON-EXEMPT
        TYPE OF PROPERTY                                VALUE                   LIENS           EQUITY        AMOUNT          AMOUNT

     PERSONAL RESIDENCE


 20 MIdland St. Highland Park, MI
                                                                70,000.00         13,301.66       56,698.34     56,698.34                     0.00
 48203 Wayne County

     PERSONAL RESIDENCE
                                                                70,000.00         13,301.66       56,698.34     56,698.34                     0.00
            (total)

 REAL ESTATE OTHER THAN
                                                                        0.00            0.00           0.00          0.00                     0.00
   PERSONAL RESIDENCE


   HHG/PERSONAL EFFECTS


 Household Goods                                                     1,000.00           0.00       1,000.00      1,000.00                     0.00


   HHG/PERSONAL EFFECTS
                                                                     1,580.00           0.00       1,580.00      1,580.00                     0.00
           (total)


                 JEWELRY


 Jewelry                                                              500.00            0.00        500.00        500.00                      0.00



            JEWELRY (total)                                           500.00            0.00        500.00        500.00                      0.00



     CASH/BANK ACCOUNTS


 Cash, approx.                                                         25.00            0.00         25.00         25.00                      0.00


     CASH/BANK ACCOUNTS
                                                                       25.00            0.00         25.00         25.00                      0.00
            (total)


                VEHICLES


 2018 Ford Eco Sport 2000 miles                                 15,000.00         28,775.00            0.00          0.00                     0.00



           VEHICLES (total)                                     15,000.00         28,775.00            0.00          0.00                     0.00



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            OTHER (itemize)


 Soc. sec.: Monthly soc. sec.
                                                                     1,121.00       0.00     1,121.00       1,011.00                   110.00
 benefit

 Federal and State: Est. 2019 Tax
                                                                        0.00        0.00         0.00            0.00                     0.00
 Refunds

 Whole Life Policy-Columbian
                                                                       19.00        0.00        19.00           19.00                     0.00
 Financial Group


              OTHER (total)                                          1,140.00       0.00     1,140.00       1,030.00                   110.00




                          Amount available upon liquidation                                                 $                        110.00

                          Less administrative expenses and costs                                            $                          27.50

                          Less priority claims                                                              $                            0.00

                          Amount Available in Chapter 7                                                     $                          82.50




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                                                                           ATTACHMENT 2

                                                           CHAPTER 13 MODEL WORKSHEET
                                                       LOCAL BANKRUPTCY RULE 3015-1(B)(2) E.D.M
 1.          Proposed length of Plan:                                    36        months

 2.          Initial Plan Payment:
            $180.00 per month x 36 months = $6,480.00 (subtotal)

             Additional
 3.          Payments:                  $                        per=$(subtotal)

 4.          Lump sums payments                                                                                                         $0.00

 5.          Total to be paid into Plan (total of lines 2 through 4)                                                              $6,480.00

 6.          Estimated disbursements other than to Class 9 General Unsecured Creditors

             a. Estimated Trustee Fees                                                         $401.76

             b. Estimated Attorney Fees and costs through
                confirmation of plan                                                          $3,420.00

             c. Estimated Attorney Fees and costs post-confirmation
                through duration of Plan                                                       $580.00

             d. Estimated fees of other Professionals                                            $0.00

             e. Total mortgage and other continuing secured debt
                payments                                                                         $0.00

             f. Total non-continuing secured debt payments
                (including interest)                                                             $0.00

             g. Total priority claims                                                            $0.00

             h. Total arrearage claims                                                           $0.00
             Total disbursements other than to Class 9 General Unsecured Creditors
 7.          (Total of lines 6.a through 6.h)                                                                        $              4,401.76

             Funds estimated to be available for Class 9 General Unsecured Creditors
 8.          (Line 5 minus Line 7)                                                                               $                  2,078.24

             Estimated dividend to Class 9 General Unsecured Creditors in Chapter 7 proceeding
 9.          (see Liquidation Analysis on page 6)                                                                $                      82.50



COMMENTS:




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                                                             V. ADDITIONAL STANDARD PROVISIONS

                                       THE FOLLOWING STANDARD PROVISIONS ARE APPLICABLE TO
                                      ALL PLANS AND PRE-CONFIRMATION MODIFIED PLANS FILED ON
                                           OR AFTER DECEMBER 1, 2017, IN THE UNITED STATES
                                      BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF MICHIGAN

A.          DEBTOR’S OBLIGATION TO REMIT TAX REFUNDS: Debtor shall not alter any withholding deductions/exemptions
            without Court approval. If the Internal Revenue Service or any State taxing authority remits to the Trustee any sum which the
            debtor is not required to remit pursuant to this Plan, then upon written request of the debtor and concurrence of the Trustee,
            the Trustee shall be authorized to refund those sums to the debtor from funds first available without further motion, notice or
            Order of Court. The Trustee shall not be required to recoup or recover funds disbursed to creditors prior to receipt of the
            debtor’s written request.

            If debtor is married and debtor’s spouse is not a joint-debtor in this case, debtor’s Tax Refund(s) for any calendar year shall
            be 50% of the aggregate net Tax Refunds received by debtor and debtor’s Non-filing spouse, regardless of whether debtor
            and spouse file a joint tax return or file separate tax returns.

B.          ALLOWANCE AND PAYMENT OF PRE-CONFIRMATION ATTORNEY FEES: If Class 2.1 of the Plan indicates
            that Counsel intends to file a Separate Application for compensation for services rendered up through the date of entry of the
            Order Confirming Plan pursuant to 11 USC §327 and §330, the Trustee shall withhold the amount designated in Class 2.1
            from funds remaining after payment of claims required to be paid prior to attorney fees pending further Order of Court.

C.          RETENTION AND COMPENSATION OF OTHER PROFESSIONALS FOR POST-PETITION
            PRE-CONFIRMATION SERVICES: If Class 2.3 indicates that debtor has retained or intends to retain the services of any
            Professional (as that term is defined in 11 USC §327) to perform professional services after the commencement of this case,
            debtor will file a timely Application to Employ Professional Person stating the identity of the person to be retained and the
            capacity or purpose for retention, accompanied by a Certification of Disinterestedness signed by the Professional and obtain
            Court permission to retain the Professional. The Professional may seek compensation in an amount not to exceed $400.00 by
            filing a Proof of Claim designated as an Administrative Expense without further notice, hearing or Order of Court. If the
            Professional seeks compensation in excess of $400.00, the Professional shall file an Application for Compensation for
            services rendered pursuant to 11 USC §327.

D.          POST-CONFIRMATION ATTORNEY FEES & COSTS BY SEPARATE APPLICATION: Counsel reserves the right
            to file Applications for compensation for services rendered subsequent to the Confirmation of this Plan.

E.          PAYMENT OF ADMINISTRATIVE EXPENSE CLAIMS: Administrative Expense Claims as defined in 11 USC §503,
            other than those claims provided for in Paragraphs B, C and D of these Additional Terms, Conditions and Provisions, will be
            deemed allowed and will be paid only upon entry of a specific Order of this Court determining the allowance and amount of
            that claim.

F.          ORDER OF PAYMENT OF CLAIMS: All claims for which this Plan proposes payment through the Trustee shall be paid
            in the following order to the extent that funds are available:

                        Level 1: Class 1
                        Level 2: Class 5.1, 5.3 and 6.1
                        Level 3: Class 2.1 and 2.3
                        Level 4: Class 2.2 and 2.4
                        Level 5: Classes 4.1 and 4.3
                        Level 6: Classes 4.2, 4.4, 5.2, 5.4 and 6.2
                        Level 7: Class 7
                        Level 8: Classes 3.1, 3.2, 5.5, 6.3, 8 and 9.

            Each level shall be paid as provided in this Plan before any disbursements are made to any subordinate class. If there are not
            sufficient funds to pay all claims within a level, then the claims in that level shall be paid pro rata.

G.          SECURED CLAIMS TO BE STRIPPED OR AVOIDED FROM THE COLLATERAL AND TREATED AS
            UNSECURED: Claims for which the creditor holds a lien that is listed as “Stripped” in Class 3.1 or “Avoided” in Class 3.2
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            are avoided and will be paid as a General Unsecured Creditor as provided in Class 9 of the Plan. Upon completion of the
            Plan, the creditor will record a Satisfaction of the Lien in the applicable Public Records to discharge and release the lien. If
            the creditor fails to do so, the Debtor may file a motion for an order declaring that the lien has been satisfied by completion
            of the confirmed Plan, which the Debtor may then have certified and recorded in the applicable Public Records.

H.          CLASS 5.1, CLASS 5.3 AND CLASS 6.1 CREDITORS SPECIFIED TO RECEIVE EQUAL MONTHLY
            PAYMENTS: Creditors identified in Class 5.1, Class 5.3, and Class 6.1 will receive Equal Monthly Payments to the extent
            funds are available at the date of each disbursement. If more than one creditor is scheduled in Class 5.1, Class 5.3, and Class
            6.1 and the funds available in any disbursement are insufficient to pay the full Equal Monthly Payments to all of the listed
            creditors, payments shall be made on a pro rata basis determined by the ratio of the Equal Monthly Payment specified to
            each creditor to the total amount of Equal Monthly Payments to all creditors scheduled in Class 5.1, Class 5.3, and Class 6.1.
            The amount of the Equal Monthly Payment to any creditor shall be the amount stated in Class 5.1, Class 5.3, and Class 6.1 as
            may be applicable and the amount of the Equal Monthly Payment specified in the Plan will supersede any monthly payment
            amount specified in a Proof of Claim at variance with the Equal Monthly Payment amount set forth in the Plan unless
            otherwise Ordered by the Court.

            The monthly post-confirmation disbursement to any creditor designated in Class 5.1, Class 5.3, and Class 6.1 will not exceed
            the Equal Monthly Payment amount for that creditor for the month in which disbursement is being made plus any previously
            unpaid Equal Monthly Payments accruing before the date of disbursement.

I.          APPLICATION OF DISBURSEMENTS BY CREDITORS: Creditors shall apply all disbursements under the Plan only
            in the manner consistent with the terms of the Plan and to the account(s) or obligation(s) as designated on the voucher or
            check provided to the Creditor with each disbursement.

J.          COMPLETION OF PLAN: For purposes of 11 USC §1328, the debtor shall be deemed to have completed all payments
            under the Plan:

                 1. Upon the expiration of the Plan Length as defined in Paragraph II.A of the Plan commencing on the date of entry of the
                    Order Confirming Plan; and

                 2. Debtor has remitted all Plan payments (as defined in Paragraph II.A and II.B of the Plan) coming due after the date of
                    entry of the Order Confirming Plan; and

                 3. Debtor has remitted all Federal Income Tax Refunds as required by Paragraph II.C of the Plan and Paragraph A of
                    these Additional Terms, Conditions and Provisions; and

               4. Debtor has remitted a sum sufficient to pay all allowed claims as amended and/or supplemented as provided in the
            Plan.

K.          EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES:

            1. Any executory contract or unexpired lease not expressly assumed in Class 6.1 or in the Order Confirming Plan shall be
               deemed rejected effective as of the Effective Date of this Plan.

            2. Upon rejection of any Executory Contract or Unexpired Lease, the property and debtor’s interest in the rejected executory
               contract or unexpired lease will no longer be property of the estate and the stay under 11 USC §362(a) and the co-debtor
               stay under 11 USC §1301 shall automatically terminate as to such property. Any claims arising from the rejection of an
               executory contract or unexpired lease shall be treated as a general unsecured claim in Class Nine, subject to further Order
               of Court.

            3. For all assumed executory contracts and unexpired leases, confirmation of this Plan shall constitute a finding that this Plan
               complies with all requirements for assumption of the executory contracts and unexpired leases being assumed, including
               all requirements set forth in 11 USC §365(b).

            4. Upon the termination of the Lease (whether as a result of the expiration of the contractual lease term, repossession of the
               property which is the subject of the Lease, or otherwise), the Lessor shall have the right to file a Supplemental Claim for
               any damages or charges permitted under or pursuant to the Lease.

            5. If Class 6.1 provides for the Continuing Lease/Contract Payments to be made by the Trustee, the Supplemental Claim as
               filed and allowed shall be paid by the Trustee over the remaining term of the Plan.
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            6. If Class 6.1 provides for the Continuing Lease Payments to be made directly by the Debtor to the Lessor, the Supplemental
               Claim as filed and allowed shall be paid directly by the Debtor to the Creditor over the remaining term of the Plan. If there
               is a balance outstanding on the Supplemental Claim as of the completion of Debtor’s confirmed Chapter 13 Plan, this
               balance shall not prevent or preclude the entry of a discharge in this case; instead, this balance shall be deemed
               non-dischargeable and Debtor shall be responsible for payment of the remaining balance of the Supplemental Claim
               following the entry of a Discharge.

L.          SECURED CLAIMS – POST-PETITION FEES, COSTS AND CHARGES:

            1. Any Supplement to Claim that is filed with the Court as to which there is no objection filed or as to which any objection
               has been overruled, shall be deemed allowed.

            2. If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid by the Trustee, the Supplement to
               Claim as filed and allowed shall be paid by the Trustee over the remaining term of the Plan.

            3. If Class 4.1, 4.3, 5.1, 5.2, 5.3 or 5.4 provides for the Creditor’s Secured Claim to be paid directly by the debtor to the
               Creditor, the Supplement to Claim as filed and allowed shall be paid directly by the debtor to the Creditor before
               completion of the Plan. If there is a balance outstanding on the Supplement to Claim as of the completion of debtor’s
               confirmed Chapter 13 Plan, this balance shall not prevent or preclude the entry of a discharge in this case; instead, any
               unpaid balance shall be non-dischargeable.

M.          SEPARATELY CLASSIFIED UNSECURED CLAIMS: Claims classified as “Separately Classified Unsecured
            Claims”are unsecured claims that qualify for discriminatory and preferred treatment pursuant to 11 USC §1322(b)(1). The
            basis for separate classification is specified in Paragraph III.H of the Plan. Each Separately Classified Unsecured Claims
            shall receive payments that total 100% of the allowed amount of the claim plus interest if specified in Class Eight of the Plan.
            See also Paragraph F of the Additional Terms, Conditions and Provisions for additional information concerning the timing
            of payments to be made on these claims.

N.          GENERAL UNSECURED CREDITORS: Unless Class 9 of the Plan provides a dividend to holders of General Unsecured
            Claims equal to 100% of allowed claims, the Plan shall produce a total sum for distribution to General Unsecured Creditors
            (the “Unsecured Base Amount”). The Unsecured Base Amount shall be not less than the aggregate amount which creditors in
            this class would have received had the estate of the debtor been liquidated under Chapter 7 of Title 11, United States Code.
            See 11 USC §1325(a)(4). Each holder of a duly filed and allowed General Unsecured Claim shall receive the holder’s pro
            rata share of the Unsecured Base Amount, based on the Creditor’s Claim as a fraction of the total General Unsecured Claims
            duly filed and allowed. The pro rata dividend for each holder of an allowed unsecured claim will be calculated by the
            Trustee upon review of allowed claims.

            This Plan shall provide either the total Unsecured Base Amount or shall continue for the Plan Length as stated in Paragraph
            II.A of the Plan, whichever will offer the greater dividend to general unsecured creditors.

O.          VESTING, POSSESSION OF ESTATE PROPERTY AND LIEN RETENTION: Upon the Effective Date of the Plan,
            all property of the estate shall vest in the debtor and shall cease to be property of the estate. The debtor shall remain in
            possession of all property during the pendency of this case unless specifically provided herein, and shall not seek to sell,
            transfer or otherwise dispose of such property (except in the ordinary course of debtor’s business) without prior Court
            approval.

P.          SURRENDER OF COLLATERAL: Those claims that are treated pursuant to 11 USC §1325(a)(5)(C) (surrender of
            collateral) are so designated in Class 5.5 of the Plan. Upon confirmation, the Automatic Stay and co-debtor Stay is lifted as to
            the collateral and any creditor holding a lien on the collateral and the collateral shall no longer constitute property of the
            estate. No disbursements shall be made by the Trustee to any creditor whose claim is secured by the collateral being
            surrendered unless the holder of such claim files a Proof of Claim (or Amended Proof of Claim) after the Effective Date of
            the Plan setting forth the amount of any deficiency remaining after disposition of the collateral. Any allowed deficiency claim
            shall be paid as a general unsecured claim in Class 9 of the Plan. See Federal Rule of Bankruptcy Procedure 3002.1.

Q.          PROHIBITION AGAINST INCURRING POST-PETITION DEBT: While this case is pending, the debtor shall not
            incur a debt in excess of $2,000.00 without first obtaining approval of either this Court or of the Chapter 13 Trustee. If the
            Chapter 13 Trustee stipulates to entry of an Order allowing Debtor to incur post-petition Debt, Debtor shall be permitted to
            file the Stipulation signed by the Trustee and to submit an Order to the Court on an ex parte basis without notice to creditors
            or other parties in interest.
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R.          UNSCHEDULED CLAIMS: If an unscheduled proof of claim is filed, the Trustee is authorized to exercise sole discretion
            to classify the claim into one of the existing classes under this Plan and to schedule the claim for payment within that class,
            without prejudice to debtor’s right to object to the allowance of the claim and/or to modify the plan to provide a different
            treatment.

S.          PROOFS OF CLAIM FILED AT VARIANCE WITH THE PLAN: In the event that a proof of claim is filed and allowed
            that is at variance with the provisions of this Plan, the following method is to be employed to resolve the conflict:

            1. Regarding claims for which the Plan does not propose a "cramdown" or modification, the proof of claim shall supersede
               the Plan as to the claim amount, percentage rate of interest, monthly payments, valuation of collateral and classification of
               the claim.
            2. As to claims for which the Plan proposes a "cramdown" or modification, the Proof of Claim governs only as to the claim
               amount. The Plan governs valuation and interest rate.
            3. If a Proof of Claim is filed that is at variance with this Plan or related schedules, the Trustee shall automatically treat that
               claim as the holder indicated, unless provided otherwise in the confirmed Plan; these Additional Terms, Conditions and
               Provisions; or by Order of Court.
            4. As to claims specified in Class 3.1 or Class 3.2 (Secured Claims to be Stripped or Avoided), the Proof of Claim shall
               control only as to the allowed amount of the claim. See also Paragraph G of the Additional Terms, Conditions and
               Provisions for additional information concerning payments to be made on these claims.

T.          TAX RETURNS AND TAX SET-OFFS: All tax returns which have become due prior to the filing of the Plan have been
            filed. The Internal Revenue Service and the United States Department of Treasury are prohibited from setting off against
            post-petition Tax Refunds for payment of pre-petition tax obligations.

U.          DEBTOR DUTY TO MAINTAIN INSURANCE – REMEDY FOR FAILURE TO MAINTAIN INSURANCE: Debtor
            shall maintain all insurance required by law and contract upon property of the estate and the debtor's property. After
            confirmation of this Plan, if the debtor fails to maintain insurance as required by law or contract, any party in interest may
            submit a notice of default, served on debtor, debtor’s counsel and the Chapter 13 Trustee, permitting 10 days from service of
            the notice in which to cure the default. If the default is not cured within the time permitted, the party in interest may submit
            an Order Granting Relief from the Automatic Stay as to the collateral to the Court along with an affidavit attesting to the
            debtor’s failure to cure, and the stay may thereafter be lifted without further motion, notice or hearing.

V.          SECURED CREDITORS, LESSORS AND PARTIES TO EXECUTORY CONTRACTS UPON ENTRY OF ORDER
            LIFTING AUTOMATIC STAY: Any secured creditor and any party to an assumed executory contract or unexpired lease
            as to whom the automatic stay is lifted shall not receive any further disbursements until a proof of claim for the balance
            remaining after liquidation of the collateral is filed.

W.          PROVIDING FUTURE TAX RETURNS TO TRUSTEE: Debtor shall timely file each Federal Income Tax Return
            required to be filed under applicable law during the pendency of this case, and shall provide to the Trustee a copy of each
            Return at the same time the Return is filed with the taxing authority.

X.          DEADLINES IN EVENT OF CONVERSION: In the event of conversion of this case to a case under Chapter 7 of the
            United States Bankruptcy Code, the rights of the Chapter 7 Trustee and all creditors (including but not limited to the right to
            object to exemptions and the right to object to discharge pursuant to 11 USC §727 and/or dischargeability pursuant to 11
            USC §523) will be determined as if the Petition was filed on the date of conversion. The date of the Order converting this
            case to one under Chapter 7 will be treated as the date of the Order For Relief and all applicable deadlines shall be
            determined as if the post-conversion Meeting of Creditors pursuant to 11 USC §341 was the initial Meeting of Creditors.

Y.          OBJECTIONS TO PROOFS OF CLAIM: Any party-in-interest shall have the right to object to Proofs of Claim.
            Confirmation of this Plan shall not constitute a waiver of any objection and shall not constitute or have any res judicata or
            collateral estoppel effect on or against any objection to Proof of Claim. If any objection to Proof of Claim is filed and
            sustained, in whole or in part, after the Trustee has begun making disbursements under this plan as confirmed, Trustee shall
            have no obligation or duty to recoup any payments or disbursements made to the creditor whose Proof of Claim was the
            subject of the objection.

Z.          CREDITOR’S AUTHORIZATION TO CONTACT DEBTOR: Notwithstanding the provisions of the Automatic Stay
            and Co-Debtor Stay, creditors holding claims in Classes 4 and 5 for which the debtor proposes to retain the collateral and
            parties to any assumed unexpired lease or executory contract in Class 6 may contact Debtor for purposes of sending periodic

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            statements and annual or periodic summaries of accounts including but not limited to account reconciliations pursuant to the
            Real Estate Settlement Procedures Act.

AA.         IDENTITY OF DISBURSING AGENT: All claims in all classes of creditors shall be paid by the Trustee as Disbursing
            Agent except those claims which are specified to be paid directly by either the debtor or a third party, in which event the
            debtor or third party making those payments shall be the Disbursing Agent for those claims.

BB.         SPECIAL PROVISIONS APPLICABLE TO GOVERNMENTAL UNITS RESPONSIBLE FOR ENFORCING
            DOMESTIC SUPPORT OBLIGATIONS: Notwithstanding the provisions of 11 U.S.C. §362 and §1327, the Automatic
            Stay is modified to permit any governmental unit or agency responsible for enforcing a domestic support obligation to send
            notices, to take other actions to the extent not inconsistent with the terms of the Plan, and to collect domestic support
            obligations from property that is not property of the estate.

CC.         PRE- AND POST-PETITION LITIGATION AND CAUSES OF ACTION: Debtor and the Chapter 13 Trustee shall
            have concurrent standing to prosecute all Pre- and Post-Petition causes of action, including but not limited to actions arising
            under Title 11, United States Code. Any compromise or settlement of any litigation or cause of action shall be subject to the
            provisions of Federal Rule of Bankruptcy Procedure 9019. Any proceeds or damages recovered by or on behalf of the debtor
            shall be retained pending Order of the Bankruptcy Court.

DD.         SUBSTANTIVE CONSOLIDATION OF JOINTLY FILED CASES: If this case has been filed jointly by a husband and
            wife pursuant to 11 USC §302, entry of an Order Confirming Plan shall also constitute an Order for Substantive
            Consolidation of the debtors.

EE.         NON-APPLICABILITY OF FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1: The requirements and
            provisions of Federal Rule of Bankruptcy Procedure 3002.1 shall not apply to any property that the Plan as confirmed
            surrenders to the Creditor as provided in 11 USC §1325(a)(5)(C); or to any property as to which the Automatic Stay is lifted
            for purposes of allowing the secured creditor to exercise rights and remedies pursuant to applicable State Law, regardless of
            whether the Order Lifting Automatic Stay is entered before or after entry of an Order Confirming the Plan.

FF.         TIME TO CURE PARAMOUNT: For any class of claims where the Months to Cure From Confirmation Date may be
            specified, if the Plan does not specify the number of months to cure, the Months to Cure From Confirmation Date shall be the
            Plan Length specified in Paragraph II.A of the Plan. For any class of claims or creditors for which the Plan specifies an
            Estimated Average Monthly Payment that is inconsistent with or contradicts the Months to Cure From Confirmation Date,
            the Months to Cure From Confirmation Date controls. The Chapter 13 Trustee is authorized to make any changes to the
            amount of disbursements to the creditor to implement this provision.

GG.         SECURED CLAIMS EXCLUDED FROM 11 USC § 506 BY THE “HANGING PARAGRAPH” AT THE END OF 11
            USC §1325 (a)(9): Claims treated in Class 5.3 or Class 5.4 are claims that were either (1) incurred within 910 days before
            the petition date and secured by a purchase money security interest in a motor vehicle acquired for the personal use of the
            debtor(s), or (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other
            thing of value.




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